          Case:
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                             Document#:
                                      #:71Filed:
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                   Document#:
                            #:71Filed:
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                                                     of47
                                                        47PageID
                                                          PageID#:61
                                                                 #:2
Case:
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      1:12-cv-08582Document
                   Document#:
                            #:71Filed:
                                Filed:12/05/12
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                                                     of47
                                                        47PageID
                                                          PageID#:62
                                                                 #:3
Case:
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      1:12-cv-08582Document
                   Document#:
                            #:71Filed:
                                Filed:12/05/12
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                                                     of47
                                                        47PageID
                                                          PageID#:63
                                                                 #:4
Case:
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      1:12-cv-08582Document
                   Document#:
                            #:71Filed:
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                                                        47PageID
                                                          PageID#:64
                                                                 #:5
Case:
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      1:12-cv-08582Document
                   Document#:
                            #:71Filed:
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                                                     of47
                                                        47PageID
                                                          PageID#:65
                                                                 #:6
Case:
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      1:12-cv-08582Document
                   Document#:
                            #:71Filed:
                                Filed:12/05/12
                                       10/25/12Page
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                                                     of47
                                                        47PageID
                                                          PageID#:66
                                                                 #:7
Case:
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      1:12-cv-08582Document
                   Document#:
                            #:71Filed:
                                Filed:12/05/12
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                                                        47PageID
                                                          PageID#:67
                                                                 #:8
Case:
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      1:12-cv-08582Document
                   Document#:
                            #:71Filed:
                                Filed:12/05/12
                                       10/25/12Page
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                                                        47PageID
                                                          PageID#:68
                                                                 #:9
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                                1 Filed: 12/05/12
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                   Document#:
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                   Document#:
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                                                                  #:43
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                            #:71Filed:
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                                                           PageID#:103
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      1:12-cv-08582Document
                   Document#:
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                   Document#:
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                            #:71Filed:
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